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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001      03 MDL 1570 (GBD) (SN)
                                                    ECF Case


This document relates to: All Cases



 PLAINTIFFS' MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS AND
  ANSWERS TO INTERROGATORIES FROM THE KINGDOM OF SAUDI ARABIA

       Plaintiffs, by their counsel below, based on the accompanying Plaintiffs' Memorandum,

Plaintiffs' Proposed Order, the declaration of Steven R. Pounian, Esq., and the Exhibits attached

thereto; and, the prior proceedings and pleadings in this litigation, hereby move this Court for an

Order, pursuant to Fed. R. Civ. P. 37, to compel the production of documents and answers to

interrogatories from the Kingdom of Saudi Arabia.


Dated: New York, New York
       November 30, 2018

 KREINDLER & KREINDLER LLP                           MOTLEY RICE LLC


 By: XU--                                            By: /s / Robed T. Haefele
                                                     Robert T. Haefele
 James P. Kreindler
 Steven R. Pounian                                   For the Plaintiffs Exec. Committees
 For the Plaintiffs Exec. Committees

 COZEN O'CONNOR


 By: /s/ Sean P. Carter
 Sean P. Carter
 For the Plaintiffs Exec. Committees
